        Case 2:16-cr-20155-SHL Document 40 Filed 12/20/17 Page 1 of 1                PageID 122



                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TENNESSEE
                                         Western Division
                                        Office of the Clerk

Thomas M. Gould, Clerk                                                                     Deputy-in-Charge
242 Federal Building                                                              U.S. Courthouse, Room 262
167 N. Main Street                                                                111 South Highland Avenue
Memphis, Tennessee 38103                                                          Jackson, Tennessee 38301
(901) 495-1200                                                                                (731) 421-9200



                                    NOTICE OF RE-SETTING
                       Before Judge Sheryl H. Lipman, United States District Judge




                                           December 20, 2017

              RE:    2:16-cr-20155-SHL
                     USA v. DAN MELINDO

              Dear Sir/Madam:

            A SENTENCING HEARING before Judge Sheryl H. Lipman has been RESET from
      THURSDAY, JANUARY 4, 2018 at 2:00 P.M. to FRIDAY, JANUARY 19, 2018 at 2:00 P.M.
      in Courtroom 4, 9th floor of the Federal Building, Memphis, Tennessee.

             The parties are instructed to have present any witnesses who will be needed for this
      hearing.

              As to defendants on bond, failure to appear without leave of court will result in a
      forfeiture of appearance bond and issuance of a warrant for arrest.

             If you have any questions, please contact the case manager at the telephone number or
      email address provided below.

                                          Sincerely,
                                          THOMAS M. GOULD, CLERK
                                          BY: s/Terry Haley,
                                                 Case Manager to Judge Sheryl H. Lipman
                                                 901-495-1276
                                                 terry_haley@tnwd.uscourts.gov
